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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 21-107V


    FANNY RIVERA,
                                                              Chief Special Master Corcoran
                         Petitioner,
    v.                                                        Filed: January 15, 2025


    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.


Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for Petitioner.

Felicia Langel, U.S. Department of Justice, Washington, DC, for Respondent.

                      DECISION ON ATTORNEY’S FEES AND COSTS 1

      On January 5, 2021, Fanny Rivera filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleged that she suffered a shoulder injury related to vaccine
administration after receiving a tetanus, diphtheria, acellular pertussis vaccination on or
about December 15, 2019. Petition, ECF No. 1. On June 20, 2024, I issued a decision
awarding compensation to Petitioner based on the parties’ stipulation. ECF No. 41.



1
 Because this Decision contains a reasoned explanation for the action taken in this case, it must be made
publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or at
https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government Act of
2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
inf ormation, the disclosure of which would constitute an unwarranted invasion of privacy. If , upon review, I
agree that the identified material fits within this definition, I will redact such material f rom public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
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        Petitioner has now filed a motion for attorney’s fees and costs, requesting an award
of $30,010.24 (representing $28,173.00 in fees plus $1,837.24 in costs). Application for
Attorneys’ Fees and Costs (“Motion”) filed August 23, 2024, ECF No. 46. Furthermore,
Petitioner filed a signed statement representing that Petitioner incurred no personal out-
of-pocket expenses. ECF No. 46-4.

        Respondent reacted to the motion on August 25, 2024, indicating that he is
satisfied the statutory requirements for an award of attorneys’ fees and costs are met in
this case but deferring resolution of the amount to be awarded to my discretion. Motion
at 2-4, ECF No. 47. Petitioner filed no reply thereafter.

       I have reviewed the billing records submitted with Petitioner’s request. The rates
requested for work performed through the end of 2024 are reasonable and consistent
with our prior determinations, and will therefore be adopted. However, I find a minor
reduction in the amount of fees to be awarded appropriate, for the reasons stated below.

                                       ANALYSIS

       The Vaccine Act permits an award of reasonable attorney’s fees and costs for
successful claimants. Section 15(e). Counsel must submit fee requests that include
contemporaneous and specific billing records indicating the service performed, the
number of hours expended on the service, and the name of the person performing the
service. See Savin v. Sec’y of Health & Human Servs., 85 Fed. Cl. 313, 316-18 (2008).
Counsel should not include in their fee requests hours that are “excessive, redundant, or
otherwise unnecessary.” Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521
(Fed. Cir. 1993) (quoting Hensley v. Eckerhart, 461 U.S. 424, 434 (1983)). It is “well
within the special master’s discretion to reduce the hours to a number that, in [her]
experience and judgment, [is] reasonable for the work done.” Id. at 1522. Furthermore,
the special master may reduce a fee request sua sponte, apart from objections raised by
respondent and without providing a petitioner notice and opportunity to respond. See
Sabella v. Sec’y of Health & Human Servs., 86 Fed. Cl. 201, 209 (2009). A special master
need not engage in a line-by-line analysis of petitioner’s fee application when reducing
fees. Broekelschen v. Sec’y of Health & Human Servs., 102 Fed. Cl. 719, 729 (2011).

        The petitioner “bears the burden of establishing the hours expended, the rates
charged, and the expenses incurred.” Wasson v. Sec’y of Health & Human Servs., 24 Cl.
Ct. 482, 484 (1991). The Petitioner “should present adequate proof [of the attorney’s fees
and costs sought] at the time of the submission.” Wasson, 24 Cl. Ct. at 484 n.1.
Petitioner’s counsel “should make a good faith effort to exclude from a fee request hours
                                             2
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that are excessive, redundant, or otherwise unnecessary, just as a lawyer in private
practice ethically is obligated to exclude such hours from his fee submission.” Hensley,
461 U.S. at 434.

                                          ATTORNEY FEES

       After reviewing the billing records submitted with Petitioner’s request, I find that
several of the tasks performed by Attorney Alexandra B. Pop are more properly billed
using a paralegal rate. 3 “Tasks that can be completed by a paralegal or a legal assistant
should not be billed at an attorney’s rate.” Riggins v. Sec’y of Health & Hum. Servs., No.
99-382V, 2009 WL 3319818, at *21 (Fed. Cl. Spec. Mstr. June 15, 2009). “[T]he rate at
which such work is compensated turns not on who ultimately performed the task but
instead turns on the nature of the task performed.” Doe/11 v. Sec’y of Health & Hum.
Servs., No. XX-XXXXV, 2010 WL 529425, at *9 (Fed. Cl. Spec. Mstr. Jan. 29, 2010).
Although these billing entries are reasonable, they must be charged at a reduced rate
comparable to that of a paralegal. Application of the foregoing results in a reduction
in the amount of fees to be awarded herein by $264.10. 4

         Petitioner has otherwise provided supporting documentation for all claimed costs.
ECF No. 46-3. Respondent offered no specific objection to the rates or amounts sought.
I find the requested costs reasonable and hereby award them in full.

                                                CONCLUSION

       The Vaccine Act permits an award of reasonable attorney’s fees and costs for
successful claimants. Section 15(e). Accordingly, I hereby GRANT in part, Petitioner’s
Motion for attorney’s fees and costs. Petitioner is awarded attorneys’ fees and costs
in the total amount of $29,746.14 (representing $27,908.90 in fees plus $1,837.24 in
costs) to be paid through an ACH deposit to petitioner’s counsel’s IOLTA account
for prompt disbursement. In the absence of a timely-filed motion for review (see




3
 Examples of such entries include the draf ting of basic documents such as a notice of f iling exhibit list,
PAR Questionnaire, cover sheet, and statement of completion. Entries reduced include: 5/20/21; (three
entries); 6/15/21; 12/1/21 (three entries); 2/23/23; 6/19/23; ECF No. 46-2 at 9-
4
 This amount consists of ($295 - $172 = $123 x 1.50 hrs. = $184.50) + ($385 - $186 = $199 x 0.40hrs. =
$79.60) = $264.10.

                                                     3
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Appendix B to the Rules of the Court), the Clerk of Court shall enter judgment in
accordance with this decision. 5


IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




5
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by f iling a joint notice
renouncing their right to seek review.
                                                  4
